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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 NAVY SEAL # 1, et al.,

                            Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
       v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                            Defendants.

   NOTICE OF SUPPLEMENT TO DEFENDANTS’ EMERGENCY MOTION
         FOR STAY PENDING APPEAL AND FOR IMMEDIATE
                    ADMINISTRATIVE STAY

       Defendants hereby supplement the emergency motion for a stay with one

 additional declaration, prepared for and filed in a separate matter, that speaks to some

 of the issues raised in the Motion to Stay, including the harms to the Navy of an

 unvaccinated sailor. See Declaration of Admiral William Merz, attached. It was

 inadvertently excluded from the Motion to Stay.




 Dated: March 2, 2022                     Respectfully submitted,

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